       Case 3:13-cr-01178-W   Document 22   Filed 04/29/13   PageID.30   Page 1 of 1



                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA


UN      STATES OF AMERICA,                  CASE NO.

                        Plaintiff,
                 vs.                        JUDGMENT OF DISMISSAL
MARCO ROBLES-NEGRETE (2),

                        Defendant.


           IT APPEARING that the defendant is now entitl             to be discharged
for      reason that:

      an indictment      been filed in another case against     defendant and
      the Court has granted      motion    the Government for dismissal of
      this case, without     judice; or

      the Court has dismissed the case for unnecessary delay; or

~     the Court has granted the motion of the Government for              smissal,
      without prejudice; or

      the Court has granted the motion of the defendant             r a judgment of
      acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury     s returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Information:

      21 USC 952 AND 960; 18 USC 2 - IMPORTATION OF COCAINE AND AIDING AND

      ABETTING

           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 04/29/13
                                            Thomas      elan
                                            U.S. District Judge
